                                                           Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 1 of 19


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                                                     7

                                                     8                                   UNITED STATES DISTRICT COURT

                                                     9                             NORTHERN DISTRICT OF CALIFORNIA

                                                    10                                        OAKLAND DIVISION

                                                    11    4361423 CANADA INC. d/b/a                    Case No. 4:19-cv-04311-JSW
                                                          ANYWHERECOMMERCE,
                                                    12                                                 SQUARE’S NOTICE OF MOTION AND
                                                                            Plaintiff,                 RULE 12(B)(6) MOTION TO DISMISS
                                                    13                                                 FIRST AMENDED COMPLAINT
                                                                 v.
                                                                                                       DATE:    December 13, 2019
                                                    14
                                                          SQUARE, INC.,                                TIME:    9:00 a.m.
W HITE & C ASE LLP
                     ATTORNEYS AT LAW




                                                    15                                                 JUDGE:   Jeffrey S. White
                                        PALO ALTO




                                                                           Defendant.                  CTRM:    5
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                                                         SQUARE’S NOTICE OF MOTION                                      CASE NO.: 4:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                           Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 2 of 19


                                                     1                                                  TABLE OF CONTENTS

                                                     2          BRIEF INTRODUCTION AND FACTUAL SUMMARY ................................................ 1
                                                     3          LEGAL STANDARD .......................................................................................................... 2
                                                     4          LEGAL ARGUMENT ......................................................................................................... 2
                                                     5          A.        AC Fails to Sufficiently Plead Direct Infringement By Square ............................... 2
                                                     6                               AC Fails to Sufficiently Plead Direct Infringement By Square Of
                                                                                     the Asserted Method Claims ........................................................................ 3
                                                     7
                                                                                     AC Fails to Sufficiently Plead Direct Infringement By Square of
                                                     8                               the Apparatus Claims ................................................................................... 5
                                                     9          B.        AC Fails to Sufficiently Plead Indirect Infringement By Square ............................ 9
                                                    10                               AC Has Not Sufficiently Pled Inducement of Infringement By
                                                                                     Square........................................................................................................... 9
                                                    11
                                                                                     AC Has Not Sufficiently Pled Contributory Infringement By
                                                    12                               Square......................................................................................................... 11
                                                    13          CONCLUSION .................................................................................................................. 12
                                                    14
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                                                                                                                           ii
                                                         SQUARE’S NOTICE OF MOTION                                                                            CASE NO.: 4:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                            Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 3 of 19


                                                                                                         TABLE OF AUTHORITIES
                                                     1
                                                                                                                                                                                          Page(s)
                                                     2
                                                                                                                FEDERAL CASES
                                                     3
                                                         Akamai Techs., Inc. v. Limelight Networks, Inc.,
                                                     4      797 F.3d 1020 (Fed. Cir. 2015) (en banc)...................................................................................4
                                                     5
                                                         Alloc, Inc. v. ITC,
                                                     6       342 F.3d 1361 (Fed. Cir. 2003) ...................................................................................................9

                                                     7   Arunachalam v. Apple,
                                                            2018 U.S. Dist. LEXIS 177921 (N.D. Cal. Oct. 16, 2018) (Davila, J.) ..................................2, 9
                                                     8
                                                         Ashcroft v. Iqbal,
                                                     9      556 U.S. 662 (2009) ................................................................................................................2, 7
                                                    10   Atlas IP LLC v. Pac. Gas & Elec. Co.,
                                                    11       2016 U.S. Dist. LEXIS 60211 (N.D. Cal. March 9, 2016) (Laporte, J.).....................................8

                                                    12   Bascom Research LLC v. Facebook,
                                                            2013 U.S. Dist. LEXIS 41429 (N.D. Cal. March 12, 2013) (Illston, J.) ...................................11
                                                    13
                                                         Bell Atlantic Corporation v. Twombly,
                                                    14       550 U.S. 544 (2007) ....................................................................................................................2
W HITE & C ASE LLP
                     ATTORNEYS AT LAW




                                                    15
                                        PALO ALTO




                                                         Bender v. Nat’l Semiconductor Corp.,
                                                    16      2009 U.S. Dist. LEXIS 113506 (N.D. Cal. Dec. 7, 2009) (White, J.) ....................................5, 9

                                                    17   BMC Res., Inc. v. Paymentech, L.P.,
                                                           498 F.3d 1373 (Fed. Cir. 2007) ...................................................................................................5
                                                    18
                                                         C.R. Bard, Inc. v. Advanced Cardiovascular Sys., Inc.,
                                                    19      911 F.2d 670 (Fed. Cir. 1990) .....................................................................................................9
                                                    20   Cap Co., Ltd. v. McAfee, Inc.,
                                                            2015 U.S. Dist. LEXIS 83522 (N.D. Cal. June 26, 2015) (Donato, J.) ..............................10, 12
                                                    21

                                                    22   Comcast Cable Communs., LLC v. OpenTV, Inc.,
                                                           319 F.R.D. 269 (N.D. Cal. 2017) (Alsup, J.) ..............................................................................5
                                                    23
                                                         Cross Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc.,
                                                    24      424 F.3d 1293 (Fed. Cir. 2005) .................................................................................................11
                                                    25   e.Digital Corp. v. iBaby Labs, Inc.,
                                                            2016 U.S. Dist. LEXIS 111689 (N.D. Cal. 2016) (Tigar, J.) ......................................................4
                                                    26
                                                         Finkelstein v. AXA Equitable Life Ins. Co.,
                                                    27
                                                            325 F. Supp. 3d 1061 (N.D. Cal. 2018) (White, J.) ....................................................................2
                                                    28

                                                                                                                             iii
                                                         SQUARE’S NOTICE OF MOTION                                                                            CASE NO.: 4:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                            Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 4 of 19


                                                         Fuzzysharp Techs. Inc. v. NVIDIA Corp.,
                                                     1      2013 U.S. Dist. LEXIS 73400 (N.D. Cal. Apr. 18, 2013) (Tigar, J.) .......................................12
                                                     2
                                                         Grecia v. VUDU, Inc.,
                                                     3      2015 U.S. Dist. LEXIS 16256 (N.D. Cal. Feb. 9, 2015) (Chen, J.) ..........................................10

                                                     4   Hewlett-Packard Co. v. Intergraph Corp.,
                                                            2003 U.S. Dist. LEXIS 26092 (N.D. Cal. Sep. 6, 2003) (Jenkins, J.) ........................................8
                                                     5
                                                         Ipventure, Inc. v. ASUS Computer Int’l,
                                                     6       2013 U.S. Dist. LEXIS 202253 (N.D. Cal. Jan. 30, 2013) (White, J.) ...................................2, 5
                                                     7
                                                         Ipventure, Inc. v. Cellco P’ship,
                                                     8      2011 U.S. Dist. LEXIS 5955 (N.D. Cal. Jan. 21, 2011) (White, J.) ...........................5, 8, 10, 11

                                                     9   J & K IP Assets, LLC v. Armaspec, Inc.,
                                                            2018 U.S. Dist. LEXIS 74689 (N.D. Cal. May 2, 2018) (Orrick, J.)..........................................8
                                                    10
                                                         Nalco Co. v. Chem-Mod, LLC,
                                                    11      883 F.3d 1337 (Fed. Cir. 2018) .................................................................................................10
                                                    12   Rearden LLC v. Walt Disney Co.,
                                                    13      293 F. Supp. 3d 963 (N.D. Cal. 2018) (Tigar, J.) .......................................................................3

                                                    14   Uniloc USA, Inc. v. Apple Inc.,
                                                            2018 U.S. Dist. LEXIS 75225 (N.D. Cal. May 2, 2018)) (Alsup, J.) .................................10, 12
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                                        PALO ALTO




                                                         Uniloc USA, Inc. v. Logitech, Inc.,
                                                    16      2018 U.S. Dist. LEXIS 197914 (N.D. Cal. Nov. 17, 2018) (Koh, J)........................................10
                                                    17   Vita- Mix Corp. v. Basic Holding, Inc.,
                                                             581 F.3d 1317 (Fed. Cir. 2009) ...................................................................................................9
                                                    18

                                                    19   Ziptronix, Inc. v. Omnivision Techs., Inc.,
                                                             2011 U.S. Dist. LEXIS 129275 (N.D. Cal. Nov. 8, 2011) (Armstrong, J.) ................................4
                                                    20
                                                                                                              FEDERAL STATUTES
                                                    21
                                                         35 U.S.C. § 271(a), (b) and (c)......................................................................................1, 8, 9, 11, 12
                                                    22
                                                                                                                  FEDERAL RULES
                                                    23
                                                         Fed. R. Civ. P 12(b)(6) ..................................................................................................................1, 2
                                                    24

                                                    25   Fed. R. Civ. P 12(e)...............................................................................................................1, 2, 2, 9

                                                    26   Fed. R. Civ. P 8 .............................................................................................................................1, 5

                                                    27

                                                    28

                                                                                                                               iv
                                                         SQUARE’S NOTICE OF MOTION                                                                                CASE NO.: 4:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                           Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 5 of 19


                                                     1          TO THE COURT AND TO ALL PARTIES OF RECORD:

                                                     2          PLEASE TAKE NOTICE that on December 13, 2019 at 9:00 a.m., or on such other date

                                                     3   to be set by the Court, at 1301 Clay Avenue, Oakland, California, in Courtroom 5, before the

                                                     4   Honorable Jeffrey S. White, Square, Inc. (“Square”) will, and hereby does, move this Court to

                                                     5   dismiss 4361423 Canada Inc.’s doing business as AnywhereCommerce (“AC”) Complaint (Dkt.

                                                     6   No. 1) (“Complaint”) in its entirety.

                                                     7          Square brings this motion to dismiss under Fed. R. Civ. P 12(b)(6), or in the alternative, a

                                                     8   motion for a more definite statement under Fed. R. Civ. P 12(e). AC’s Complaint provides only

                                                     9   vague and conclusory infringement allegations that fail to state a claim against Square or permit

                                                    10   the Court to draw the inference that Square is liable for the misconduct alleged. Notably, AC

                                                    11   fails the most basic requirement – a plausible identification of how Square allegedly infringed

                                                    12   each claim of an undisputedly complex case with a large number of patents-in-suit. The patents-

                                                    13   in-suit are U.S. Patent Nos. 8,281,998; 8,286,875; 9,016,566; 9,269,084; 9,311,637; 9,443,239;

                                                    14   9,613,351; and 9,818,107, each entitled “Apparatus and Method for Commercial Transaction
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                                                    15   Using a Communication Device” (the “Asserted Patents”). AC alleges direct and indirect
                                        PALO ALTO




                                                    16   infringement through a cookie-cutter Complaint that recites virtually the same allegations across

                                                    17   eight different patents without sufficient specificity to rise above the level of mere speculation.

                                                    18          Square is left to litigate in the dark, attempting to defend itself against as many as 127

                                                    19   different claims for alleged direct infringement, including 51 method claims that fail to identify

                                                    20   the parties who allegedly performed the infringing method steps. Similarly, AC’s Complaint

                                                    21   merely recites the elements of induced and contributory infringement, which lacks any facts to

                                                    22   provide sufficient notice to Square of the allegations against it on these counts.

                                                    23          In an effort to reduce the burdens on the Court, Square sought to informally resolve this

                                                    24   issue. On September 23, 2019, Square attempted to meet and confer with AC (while not required

                                                    25   to do so) seeking additional specificity before the deadline to respond to the Complaint. Square’s

                                                    26   counsel noted that because the upcoming case management conference and the hearing on this

                                                    27   motion is set for December 13, 2019, there is no prejudice to AC in using this period to amend its

                                                    28   Complaint to provide more specificity. AC refused to stipulate to plead its complaint with

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                                                         SQUARE’S NOTICE OF MOTION                                                 CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                           Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 6 of 19


                                                     1   additional specificity for the infringement allegations. Nonetheless, Square will continue to try to

                                                     2   informally resolve this to reduce the burdens on the Court. This Motion seeks entry of an order

                                                     3   dismissing the Complaint based on the accompanying Memorandum of Points and Authorities,

                                                     4   the record with the Court, arguments of counsel and any other matters that may properly come

                                                     5   before the Court for its consideration. In the alternative, Square seeks a more definite statement

                                                     6   under Rule 12(e) so that it may more adequately respond to a more specific identification of the

                                                     7   infringement allegations.

                                                     8    Dated: September 23, 2019                         Respectfully submitted,

                                                     9                                                      WHITE & CASE LLP
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                                                                                                            /s/ Bijal V. Vakil
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                                                         SQUARE’S NOTICE OF MOTION                                               CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                             Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 7 of 19


                                                     1                        MEMORANDUM OF POINTS AND AUTHORITIES
                                                     2           Square, Inc. (“Square”) respectfully moves this Court to dismiss 4361423 Canada Inc.’s,

                                                     3   doing business as AnywhereCommerce (“AC”) Complaint (Dkt. No. 1) (“Complaint”) in its

                                                     4   entirety so that it can adequately defend itself as detailed below.

                                                     5           BRIEF INTRODUCTION AND FACTUAL SUMMARY

                                                     6           Square is a leading financial technology company developing products to democratize

                                                     7   commerce, and level the playing field for businesses of all sizes.

                                                     8           Jack Dorsey founded Square in 2009 after a conversation with his friend and co-founder,

                                                     9   Jim McKelvey. Mr. McKelvey lost a significant sale to a customer who was unable to make a

                                                    10   purchase because the customer did not have cash. This inspired Mr. Dorsey and Mr. McKelvey

                                                    11   to innovate a means by which any merchant could complete a transaction using only their mobile

                                                    12   phones and payment cards. Square revolutionized the mobile payment industry. Today, Square

                                                    13   offers a range of devices and solutions using complex, market-leading technologies to promote

                                                    14   economic empowerment.
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                                                    15           The crux of AC’s Complaint is that all of Square’s revolutionary devices directly and
                                        PALO ALTO




                                                    16   indirectly infringe up to 127 different patent claims across the eight different patents-in-suit (the

                                                    17   “Asserted Patents”) under 35 U.S.C. 271(a). AC’s Complaint relies on merely reciting the

                                                    18   elements of eight (8) “representative” claims (one per patent) in an attempt to plead its claims of

                                                    19   infringement. However, even if AC’s “representative” claims are actually “representative

                                                    20   infringement allegations” – and they are not – they are rife with conclusory statements that fail to

                                                    21   address the complex technology in Square’s devices. AC’s Complaint leaves Square guessing as

                                                    22   to the actual allegations of misconduct that would enable Square to answer the Complaint and

                                                    23   defend itself.1 Likewise, AC’s conclusory allegations that Square induces other parties to infringe

                                                    24   or contribute to others’ infringement are simply formulaic recitations of 35 U.S.C. Section 271(b)

                                                    25   and (c), respectively, falling well-below the pleading standard to allege indirect infringement.

                                                    26           Under Fed. R. Civ. P 8, AC is required to make a short and plain statement of the claim

                                                    27   1
                                                          Because AC’s complaint is so deficient at this stage, Square does not waive, and hereby
                                                    28   expressly reserves, the right to challenge any remaining allegations under Rule 12 if the Court
                                                         denies this motion or grants leave to amend or orders a more definite statement.

                                                                                                          -1-
                                                         SQUARE’S NOTICE OF MOTION                                                 CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                           Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 8 of 19


                                                     1   showing that it is entitled to relief by demonstrating a reasonable inference that any of its patent

                                                     2   claims are subject to infringement allegations. AC’s Complaint falls short of this standard and

                                                     3   should be dismissed under Rule 12(b)(6) for failure to state a claim, or in the alternative, should

                                                     4   be ordered to be amended with more specificity under Rule 12(e).

                                                     5          LEGAL STANDARD

                                                     6          This Court can dismiss a complaint under Rule 12(b)(6) where the pleadings fail to state a

                                                     7   claim upon which relief can be granted. See Ipventure, Inc. v. ASUS Computer Int'l, 2013 U.S.

                                                     8   Dist. LEXIS 202253 at *4 (N.D. Cal. Jan. 30, 2013) (White, J.) (granting motion to dismiss patent

                                                     9   infringement case). A complaint containing nothing more than “labels and conclusions,” and “a

                                                    10   formulaic recitation of the elements of a cause of action,” as is the case here, fails to state a claim.

                                                    11   Bell Atlantic Corporation v. Twombly, 550 U.S. 544, 555 (2007).

                                                    12          To survive a motion to dismiss under Rule 12(b)(6), a plaintiff must plead “factual content

                                                    13   that allows the court to draw the reasonable inference that the defendant is liable for the

                                                    14   misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662 (2009) (citing Twombly, 550 U.S. at 556).
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                                                    15   If the allegations are insufficient to state a claim, a court should grant leave to amend, unless
                                        PALO ALTO




                                                    16   amendment would be futile. See Finkelstein v. AXA Equitable Life Ins. Co., 325 F. Supp. 3d

                                                    17   1061, 1065 (N.D. Cal. 2018) (White, J.).

                                                    18          LEGAL ARGUMENT

                                                    19          A.      AC Fails to Sufficiently Plead Direct Infringement By Square

                                                    20          The Complaint lacks sufficient recitals to support the allegations that the Square devices

                                                    21   practice every element of at least one claim of each of the eight Asserted Patents. See

                                                    22   Arunachalam v. Apple, 2018 U.S. Dist. LEXIS 177921 at *7-8 (N.D. Cal. Oct. 16, 2018) (Davila,

                                                    23   J.) (dismissing direct infringement allegations for lack of factual recitals). Rather, AC’s

                                                    24   Complaint contains conclusory statements that Square has infringed the Asserted Patents without

                                                    25   tying each and every element to the Square devices alleged to infringe method or apparatus

                                                    26   claims. See id.

                                                    27          ///

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                                                         SQUARE’S NOTICE OF MOTION                                                  CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                           Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 9 of 19


                                                     1                         AC Fails to Sufficiently Plead Direct Infringement By Square Of the

                                                     2                         Asserted Method Claims

                                                     3          Each of the Asserted Patents contains both method and apparatus claims. A claim for

                                                     4   direct infringement of method claims requires that “all steps of a claimed method are performed

                                                     5   by or attributable to” an alleged infringer. Rearden LLC v. Walt Disney Co., 293 F. Supp. 3d 963,

                                                     6   972 (N.D. Cal. 2018) (Tigar, J.) (citing Akamai Techs., Inc. v. Limelight Networks, Inc., 797 F.3d

                                                     7   1020, 1022 (Fed. Cir. 2015) (en banc)). AC concedes that a third-party “user” is required for the

                                                     8   Square products to practice the alleged method and apparatus claims, such as steps performed by

                                                     9   the mobile communication device of a user who seeks to accept credit cards or take payments “on

                                                    10   their smartphone or tablet.” See Complaint, Dkt. No. 1 at ¶ 35 (citing Square’s website for the

                                                    11   allegation that the accused “Readers allow a user to ‘[a]ccept credit cards anywhere’ and ‘allow

                                                    12   everyone to take payments on their smartphone or tablet’”).

                                                    13          For each of the Asserted Patents, at least some of the method claim steps must be

                                                    14   performed by a mobile communication device belonging to a customer, purchaser or user other
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                                                    15   than Square. For example, representative Claim 3 of the ’566 Patent and ’637 Patent both claim a
                                        PALO ALTO




                                                    16   “method for reading a smart card having recorded information stored on an integrated circuit

                                                    17   incorporated into the card.” See id. at ¶¶ 96, 135. Representative Claim 5 of the ’084 Patent

                                                    18   similarly claims a “method for reading a smart card.” See id. at ¶ 115. Each of these supposedly

                                                    19   representative claims require that at least one step be performed by a “mobile communication

                                                    20   device” not owned or operated by Square. See id. at ¶¶ 96, 115, 135. The necessary mobile

                                                    21   communication device performs at least the step of “transmitting” a “signal” from a mobile

                                                    22   communication device “to a transaction server for further processing.” See id. AC admits that

                                                    23   these method claims may/could be performed by others, but fails to plausibly allege that Square is

                                                    24   responsible for the other party’s performance of this step in any manner whatsoever. See id. at

                                                    25   ¶¶ 97, 116, 136 (“Square and others at its direction have performed the claimed method . . . .”).

                                                    26   AC further admits that the mobile communication device belongs to a “user,” not Square. See id.

                                                    27   at ¶ 37 (alleging that the signal “is sent to the user’s mobile communication device and –

                                                    28   ultimately – on to Square’s transaction servers”).

                                                                                                         -3-
                                                         SQUARE’S NOTICE OF MOTION                                               CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                          Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 10 of 19


                                                     1           The Complaint is replete with similarly deficient allegations of infringement; Claim 3 of

                                                     2   the ’566 Patent and ’637 Patent and Claim 5 of the ’084 Patent are merely illustrative examples of

                                                     3   AC’s formulaic allegations that fail to properly state a claim. See id. at ¶¶ 95, 115, 135. Claim 3

                                                     4   of the ’566 Patent and ’637 Patent and Claim 5 of the ’084 Patent are “representative” claims that

                                                     5   recite steps that are performed by “others” – unspecified customers, purchasers or users. AC’s

                                                     6   failure to map its allegations against these “others” renders Square unable to discern of how

                                                     7   Square alone could plausibly infringe the method claims. See e.Digital Corp. v. iBaby Labs, Inc.,

                                                     8   2016 U.S. Dist. LEXIS 111689 at *13 (N.D. Cal. 2016) (Tigar, J.) (“While e.Digital has

                                                     9   attempted to map most of the elements in the exemplary claim onto its description of the accused

                                                    10   products in the FAC, e.Digital has not attempted to map this limitation onto any allegations. . . .

                                                    11   Moreover, based on the Court's own independent review, it cannot discern how the FAC could be

                                                    12   said to plausibly allege this limitation.”)

                                                    13           Accordingly, AC’s Complaint fails as to up to 51 method claims because AC does not

                                                    14   allege that Square practices every step of each asserted method claim (or how Square is
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                                                    15   responsible for the performance of “others”). See Ziptronix, Inc. v. Omnivision Techs., Inc., 2011
                                        PALO ALTO




                                                    16   U.S. Dist. LEXIS 129275 at *10 (N.D. Cal. Nov. 8, 2011) (Armstrong, J.) (holding that “with a

                                                    17   method patent infringement claim, to properly allege ‘use’ of the patent, the patentee must

                                                    18   identify the steps of the claimed infringing process that allegedly violated the protected method

                                                    19   and must allege that all the protected steps have been used by the infringer”). Moreover, the

                                                    20   Complaint fails to plead that a third-party customer, purchaser, or user of a “mobile

                                                    21   communication device” performs certain steps, including whether Square is responsible for such

                                                    22   performance. See, e.g., id. at ¶¶ 97, 116, 136. In conclusion, AC admits that Square could not

                                                    23   (and did not) perform every step, but fails to identify the party who allegedly did perform all

                                                    24   steps. See id.

                                                    25           There can be no infringement if Square did not perform (nor is responsible for) every step

                                                    26   of the asserted method claims. See Akamai, 797 F.3d at 1022 (the court will “hold an entity

                                                    27   responsible for others; performance of method steps in two sets of circumstances: (1) where that

                                                    28   entity directs or controls others’ performance, and (2) where the actors form a joint enterprise.”);

                                                                                                         -4-
                                                         SQUARE’S NOTICE OF MOTION                                                CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                          Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 11 of 19


                                                     1   BMC Res., Inc. v. Paymentech, L.P., 498 F.3d 1373, 1379-81 (Fed. Cir. 2007). Likewise, if AC

                                                     2   cannot plausibly allege that Square is responsible for the performance of the asserted method

                                                     3   claims by directing or controlling the “others” performance, or that Square and the users “form a

                                                     4   joint enterprise,” the Complaint must be dismissed. See Comcast Cable Communs., LLC v.

                                                     5   OpenTV, Inc., 319 F.R.D. 269, 273 (N.D. Cal. 2017) (Alsup, J.). Accordingly, Square is unable

                                                     6   to ascertain who AC claims performed the steps, and is therefore unable to defend itself against

                                                     7   any of the method claim allegations.

                                                     8                          AC Fails to Sufficiently Plead Direct Infringement By Square of the

                                                     9                          Apparatus Claims

                                                    10          Of the 76 apparatus claims across the 8 asserted patents, AC has described only five

                                                    11   representative claims as being mapped to some of the accused products and apparatus, described

                                                    12   infra. AC’s conclusory allegations deny Square the proper notice of the claims for direct

                                                    13   infringement because there are so many different patent claims that may be asserted beyond just

                                                    14   these representative claims. See ASUS, 2013 U.S. Dist. LEXIS 202253 at *2 (granting motion to
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                                                    15   dismiss five patents accusing defendant’s entire product line of computers as well as apparatus
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                                                    16   and methods utilized by those computers); see also Bender v. Nat’l Semiconductor Corp., 2009

                                                    17   U.S. Dist. LEXIS 113506 at *5-6 (N.D. Cal. Dec. 7, 2009) (White, J.) (granting motion to dismiss

                                                    18   allegations of “general categories of products” before plaintiff amended to provide the specific

                                                    19   circuitry that allegedly infringed the asserted claims).

                                                    20          AC cannot rely on vague and conclusory allegations in an effort to draw the Court into

                                                    21   inferring that Square is liable for direct infringement. See ASUS, 2013 U.S. Dist. LEXIS 202253

                                                    22   at *4 (“Based on these vague and conclusory allegations, the Court finds that Plaintiff has not

                                                    23   provided sufficient “factual content that allows the court to draw the reasonable inference” that

                                                    24   Defendant is liable for direct infringement.”). Rather, under Rule 8, AC must provide Square

                                                    25   with a short and plain statement sufficient to put Square on notice of the infringement claims

                                                    26   against it with enough detail to enable Square to answer the complaint and defend itself. See

                                                    27   Ipventure, Inc. v. Cellco P’ship, 2011 U.S. Dist. LEXIS 5955 at *9 (N.D. Cal. Jan. 21, 2011)

                                                    28   (White, J.) (citing Phonometrics, Inc. v. Hospitality Franchise System, Inc., 203 F.3d 790, 794

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                                                         SQUARE’S NOTICE OF MOTION                                               CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                          Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 12 of 19


                                                     1   (Fed. Cir. 2000)).

                                                     2          Here are a few illustrative examples from the eight Asserted Patents where AC

                                                     3   conclusorily alleges that Square’s products infringe every element of the apparatus claims:

                                                     4         Count I (’875 Patent), Count IV (’998 Patent) – AC claims that the Square Magstripe

                                                     5          Reader has a “custom chip” that acts as the required “controller” to perform the claim

                                                     6          limitation of “converting the captured card information into a signal having an analog audio

                                                     7          format suitable for transmission to an analog hands-free jack of a mobile communication

                                                     8          device” (’875 Patent), and to encrypt signals (’998 Patent). AC conclusorily cites a

                                                     9          magazine blurb by Wired.com (not Square) about the functions of the “custom chip” that

                                                    10          does not state it is a “controller” for converting or encrypting signals. Instead, the reporter

                                                    11          for Wired.com generally stated that Square’s “custom chip” is the “brains of the

                                                    12          operation,” which is just lingo by a third-party, not a fact in support of an infringement

                                                    13          allegation. Complaint at ¶¶ 57, 80;

                                                    14         Count VII (‘566 Patent), Count X (’084 Patent), and Count XIII (’637 Patent) – AC
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                                                    15          repetitively alleges that a “Square EMV Chip Card Reader, operating with the Square
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                                                    16          Point of Sale application and Square servers” meets every limitation of method Claim 3 of

                                                    17          the ’566 Patent, method Claim 5 of the ’084 Patent, and method Claim 3 of the ’637

                                                    18          Patent. AC fails to allege both who performs every step using these various Square

                                                    19          devices, as described, supra, and which device is used to perform every step. AC also

                                                    20          fails to allege how these various Square devices and apparatuses have the required

                                                    21          components for reading and producing very specific analog signals that are encrypted

                                                    22          using complex circuitry. AC only cites unlabeled pictures (as shown below) and an

                                                    23          unhelpful citation to a user manual for a Square Chip Card Reader that does not explain

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                                                         SQUARE’S NOTICE OF MOTION                                                CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                          Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 13 of 19


                                                     1          the generically stated method claims, which prevents Square from understanding who

                                                     2          allegedly performs these steps using which Square devices or apparatuses. Complaint at

                                                     3          ¶¶ 98-99, 117-119, 137-139 (below):

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                                                               Count XVI (’239 Patent) and XIX (’351 Patent) – AC improperly tries to vary its
                                                     9
                                                                allegations slightly with the next set of repetitive claims, claiming that multiple different
                                                    10
                                                                Square devices infringe apparatus Claim 1, including the referenced EMV Chip Card
                                                    11
                                                                Reader and the Square Contactless and Chip Reader, together with the Square Point of Sale
                                                    12
                                                                application and Square servers. Yet, AC points to the same unlabeled pictures it previously
                                                    13
                                                                claimed was just the EMV Chip Card Reader. Moreover, while Claim 1 of the ’239
                                                    14
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                                                                Patent requires a “smart card” and the ’351 Patent refers to the integrated circuit chip on a
                                                    15
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                                                                “smart card,” AC never identifies any components of a Square product used in
                                                    16
                                                                conjunction with this unidentified “smart card” or the “integrated circuit” contained on the
                                                    17
                                                                card. Square lacks notice of how the accused devices are infringing, and cannot defend
                                                    18
                                                                itself against this claim. These “threadbare recitals” substituting different words into the
                                                    19
                                                                formulaic recitals of the claims is insufficient to put Square on notice of the infringement
                                                    20
                                                                allegations. See Iqbal, 556 U.S. at 678.
                                                    21
                                                               Count XXII (’107 Patent) – AC tries to combine all of the above devices and apparatuses
                                                    22
                                                                in its final Asserted Patent, citing the Square Magstripe Readers, Square EMV Chip and
                                                    23
                                                                Card Reader (unclear how this is different from the aforementioned “Square EMV Chip
                                                    24
                                                                Reader”), and the Square Contactless and Chip Reader. Despite broad claims citing to so
                                                    25
                                                                many products, all AC can point to are unlabeled photos of components. Without
                                                    26
                                                                explanation, AC claims that each of the below photos contains circuitry that includes
                                                    27
                                                                sensors, controllers, and communication links to remote servers, none of which is
                                                    28

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                                                         SQUARE’S NOTICE OF MOTION                                                CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                          Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 14 of 19


                                                     1          sufficiently alleged or described in any way. Square has no way to know what

                                                     2          components are at issue here and cannot respond to the Complaint (below):

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                                                    11          The sections recited above are just some of the examples of the vague and conclusory
                                                    12   allegations relied on by AC to plead that Square is liable for direct infringement. See also
                                                    13   Complaint at ¶¶ 52-67, 76-84, 93-104, 113-124, 133-144, 153-171, 180-194, 203-214. As such,
                                                    14   AC has failed to meet its pleading standard on all eight of the Asserted Patents. See, e.g., J & K
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                                                         IP Assets, LLC v. Armaspec, Inc., 2018 U.S. Dist. LEXIS 74689 at *4-5 (N.D. Cal. May 2, 2018)
                                                    16   (Orrick, J.) (complaint’s mere regurgitation of requirements of 35 U.S.C. § 271 not sufficient to
                                                    17   survive a motion to dismiss).
                                                    18          Conclusory and vague allegations, such as those alleged here, are insufficient to allow
                                                    19   Square to respond to infringement allegations for up to 127 different claims — an average of
                                                    20   about 16 claims per patent. That is not enough under the relevant case standards. See Cellco,
                                                    21   2011 U.S. Dist. LEXIS 5955 at *9. Given the plethora of potential claims and the various Square
                                                    22   products mentioned, AC cannot simply recite some elements of a representative claim without
                                                    23   specifically tying the operation of a specific device to any asserted claim or addressing all of the
                                                    24   claim requirements. See Atlas IP LLC v. Pac. Gas & Elec. Co., 2016 U.S. Dist. LEXIS 60211 at
                                                    25   *7-8 (N.D. Cal. March 9, 2016) (Laporte, J.) (dismissing patentee’s complaint that “recites only
                                                    26   some of the elements of the sole asserted claim, and provides only a threadbare description of the
                                                    27   alleged abilities of the accused device”); Hewlett-Packard Co. v. Intergraph Corp., 2003 U.S.
                                                    28

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                                                         SQUARE’S NOTICE OF MOTION                                                CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                          Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 15 of 19


                                                     1   Dist. LEXIS 26092 at *6 (N.D. Cal. Sep. 6, 2003) (dismissing without prejudice patentee’s

                                                     2   complaint due to use of terms that “software and hardware products were infringed by

                                                     3   Defendant’s” 150 core technology platforms in “over 4000 end-use applications”) (Jenkins, J.).

                                                     4          If the Court deems appropriate, in the alternative, Rule 12(e) provides that “[i]f a

                                                     5   pleading . . . is so vague or ambiguous that a party cannot reasonably be required to frame a

                                                     6   responsive pleading, the party may move for a more definite statement before interposing a

                                                     7   responsive pleading.” See Bender, 2009 U.S. Dist. LEXIS 113506 at *5-6 (citing Fed. R. Civ. P.

                                                     8   12(e) in allowing plaintiff to amend to specifically identify the circuitry that allegedly infringed).

                                                     9   Motions for more a definite statement are disfavored and are “proper only where the complaint is

                                                    10   so indefinite that the defendant cannot ascertain the nature of the claim being asserted.” See id.

                                                    11   (citing Sagan v. Apple Computer, Inc., 874 F. Supp. 1072, 1077 (C.D. Cal. 1994)). Pleading with

                                                    12   greater detail would enable Square to have a better understanding of the factual allegations as to

                                                    13   every element of the asserted patents. See Arunachalam, 2018 U.S. Dist. LEXIS 177921 at *7-8.

                                                    14          B.      AC Fails to Sufficiently Plead Indirect Infringement By Square
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                                                    15          AC may plead claims of indirect patent infringement with the requisite specificity. AC
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                                                    16   attempts to allege infringement in two scenarios: (1) claims for inducement under Section 271(b);

                                                    17   and/or (2) contributory infringement under Section 271(c).

                                                    18                          AC Has Not Sufficiently Pled Inducement of Infringement By Square

                                                    19          The patent laws provide that “[w]hoever actively induces infringement of a patent shall be

                                                    20   liable as an infringer.” 35 U.S.C. § 271(b). “Inducement requires a showing that the alleged

                                                    21   inducer knew of the patent, knowingly induced the infringing acts, and possessed a specific intent

                                                    22   to encourage another’s infringement of the patent.” Vita- Mix Corp. v. Basic Holding, Inc., 581

                                                    23   F.3d 1317, 1328 (Fed. Cir. 2009). Direct infringement is a prerequisite to indirect infringement.

                                                    24   Alloc, Inc. v. ITC, 342 F.3d 1361, 1374 (Fed. Cir. 2003); see also C.R. Bard, Inc. v. Advanced

                                                    25   Cardiovascular Sys., Inc., 911 F.2d 670, 675 (Fed. Cir. 1990) (“A person induces infringement

                                                    26   under § 271(b) by actively and knowingly aiding and abetting another’s direct infringement.”).

                                                    27          Courts in this District have regularly dismissed inducement claims premised on the

                                                    28   generic allegations that a patent defendant has induced its customers to infringe patents. See, e.g.,

                                                                                                          -9-
                                                         SQUARE’S NOTICE OF MOTION                                                 CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                          Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 16 of 19


                                                     1   Uniloc USA, Inc. v. Logitech, Inc., 2018 U.S. Dist. LEXIS 197914 at *5-7 (N.D. Cal. Nov. 17,

                                                     2   2018) (Koh, J). (citing Avocet Sport Tech., Inc. v. Garmin Int'l, Inc., 2012 U.S. Dist. LEXIS

                                                     3   87747 at *13 (N.D. Cal. June 5, 2012) (Ware, J.)); Uniloc USA, Inc. v. Apple Inc., 2018 U.S. Dist.

                                                     4   LEXIS 75225 at *6-7 (N.D. Cal. May 2, 2018)) (Alsup, J.). Rather, for an allegation of induced

                                                     5   infringement to survive a motion to dismiss, a complaint must plead facts plausibly showing that

                                                     6   the accused infringer specifically intended another party to infringe the patent and knew that the

                                                     7   other party’s acts constituted infringement. Nalco Co. v. Chem-Mod, LLC, 883 F.3d 1337, 1355

                                                     8   (Fed. Cir. 2018) (citing Lifetime Indus., Inc. v. Trim-Lok, Inc., 869 F.3d 1372, 1379 (Fed. Cir.

                                                     9   2017)) (internal quotation marks omitted).

                                                    10          AC’s Complaint fails to plausibly allege induced infringement. Rather, AC’s alleged

                                                    11   inducement claim generically alleges that others infringed on AC’s patents, without any specific

                                                    12   allegations that Square advertised an infringing use or instructed customers or third parties

                                                    13   regarding how to engage in an infringing use. See, e.g., Complaint at ¶¶ 69-70 (alleging that

                                                    14   Square induces others, such as customers, purchasers and user, by “advertising and promoting use
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                                                    15   of the ’875 Accused Products in an infringing manner, and distributing guidelines and
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                                                    16   instructions to third parties on how to use the ’875 Accused Products in an infringing manner”).

                                                    17   Moreover, AC also fails to plausibly allege that Square “actively and knowingly aided and abetted

                                                    18   another’s direct infringement.” See Grecia v. VUDU, Inc., 2015 U.S. Dist. LEXIS 16256 at *22

                                                    19   (N.D. Cal. Feb. 9, 2015) (Chen, J.) (emphasis in original). Rather, AC relies on its allegation that

                                                    20   Square provided detailed explanations, instruction and information to third parties, which is

                                                    21   insufficient to properly allege inducement. See Cellco, 2011 U.S. Dist. LEXIS 5955 at *9

                                                    22   (holding that citing to exhibits to a complaint cannot substitute for factual allegations of actively

                                                    23   inducing infringement). Citations to user manuals and the like are not adequate to support an

                                                    24   inducement claim. See Cap Co., Ltd. v. McAfee, Inc., 2015 U.S. Dist. LEXIS 83522 at *16 (N.D.

                                                    25   Cal. June 26, 2015) (Donato, J.) (“CAP’s problem is that it fails to allege any statements by

                                                    26   McAfee or Symantec at all. CAP makes passing references to ‘user manuals guides, and support

                                                    27   articles,’ without ever saying what those materials contain, which is wholly inadequate for an

                                                    28   inference of specific intent.”). AC’s Complaint falls far short of plausibly alleging that Square

                                                                                                         -10-
                                                         SQUARE’S NOTICE OF MOTION                                                 CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                          Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 17 of 19


                                                     1   actively and knowingly aided and abetted infringement by others, and for that reason, must be

                                                     2   dismissed.

                                                     3          There are additional deficiencies with AC’s induced infringement claim. AC also failed

                                                     4   to plausibly allege that any third parties were purportedly induced to directly perform any of the

                                                     5   method steps by Square. See e.g., Complaint at ¶¶ 69-70 (failing to allege that any third-party

                                                     6   performs any specific method steps). Dismissal is appropriate here because AC does not

                                                     7   “actually allege” that Square induces any performance of any specific method steps by any third

                                                     8   party. See Bascom Research LLC v. Facebook, 2013 U.S. Dist. LEXIS 41429 at *16 (N.D. Cal.

                                                     9   March 12, 2013) (Illston, J.) (granting motion to dismiss, with leave to amend, where “the

                                                    10   complaints do not actually allege that defendants induce performance of all of the steps, in some

                                                    11   combination or other”).

                                                    12                          AC Has Not Sufficiently Pled Contributory Infringement By Square

                                                    13          To allege contributory infringement, a plaintiff must plausibly allege that a party “offers

                                                    14   to sell or sells within the United States or imports into the United States a component of a
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                                                    15   patented machine, manufacture, combination, or a material or apparatus for use in practicing a
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                                                    16   patented process, constituting a material part of the invention,” while knowing that the component

                                                    17   is “especially made or especially adapted for use in an infringement of such patent, and not a

                                                    18   staple article or commodity of commerce suitable for substantial non-infringing use.” 35 U.S.C.

                                                    19   § 271(c). Like induced infringement, AC must be able to plausibly allege direct infringement to

                                                    20   allege contributory infringement. See Cross Med. Prods., Inc. v. Medtronic Sofamor Danek, Inc.,

                                                    21   424 F.3d 1293, 1312 (Fed. Cir. 2005) (“[T]o succeed on a claim of contributory infringement, in

                                                    22   addition to proving an act of direct infringement, plaintiff must show that defendant ‘knew that

                                                    23   the combination for which its components were especially made was both patented and

                                                    24   infringing’ and that defendant’s components ‘have no substantial non-infringing uses.’”).

                                                    25          Like any other claim under Twombly and Iqbal, conclusory allegations of contributory

                                                    26   infringement that simply contain a “bare recitation” of the elements of contributory infringement

                                                    27   coupled with the “length of the complaint and the volume of evidence submitted with it, in the

                                                    28   form of chart and summaries” to sufficiently allege contributory infringement. See Cellco, 2011

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                                                         SQUARE’S NOTICE OF MOTION                                               CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                          Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 18 of 19


                                                     1   U.S. Dist. LEXIS 5955 at *9; Fuzzysharp Techs. Inc. v. NVIDIA Corp., 2013 U.S. Dist. LEXIS

                                                     2   73400 at *4 (N.D. Cal. Apr. 18, 2013) (Tigar, J.) (holding that plaintiff failed to state a claim for

                                                     3   contributory infringement because the allegation in the complaint “do not raise the reasonable

                                                     4   inference that . . . [the accused products] have no substantial non-infringing uses”).

                                                     5          AC’s Complaint falls far short of plausibly pleading contributory infringement. Rather

                                                     6   than pleading the requisite knowledge required, AC instead merely recites the elements of

                                                     7   contributory infringement. See, e.g., Complaint at ¶¶ 71-75 (alleging that Square contributorily

                                                     8   infringes by “supplying the Square Magstripe Reader and Square EMV Chip Card Reader, as well

                                                     9   as the Square Point of Sale application . . . upon information and belief, there is no substantial

                                                    10   non-infringing use . . . .”). Such allegations are insufficient to survive a motion to dismiss. See

                                                    11   Uniloc USA, Inc. v. Apple Inc., 2018 U.S. Dist. LEXIS 75225 at *6-7 (N.D. Cal. May 2, 2018)

                                                    12   (Alsup, J.) (a plaintiff’s “formulaic recitation of Section 271(c)” is “not entitled to the

                                                    13   presumption of truth” at the motion to dismiss stage); Cap Co., 2015 U.S. Dist. LEXIS 83522 at

                                                    14   *19-20 (“Although CAP need not prove that the accused products have no substantial
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                                                    15   noninfringing uses at the pleading stage, it must allege some facts that take its statements from
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                                                    16   mere lawyerly fiat to a plausible conclusion–for example, by alleging one or more infringing uses

                                                    17   of the accused products and alleging that the products have no other uses.”). As such, AC’s

                                                    18   contributory infringement claim must also dismissed.

                                                    19          CONCLUSION

                                                    20          This Court should dismiss AC’s bare-bones Complaint at this stage because it fails to

                                                    21   adequately plead and provide the requisite notice to Square for both its direct and indirect

                                                    22   infringement allegations.

                                                    23

                                                    24    Dated: September 23, 2019                           Respectfully submitted,

                                                    25                                                        WHITE & CASE LLP
                                                    26                                                        /s/ Bijal V. Vakil
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                                                                                                          -12-
                                                         SQUARE’S NOTICE OF MOTION                                                  CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
                                                          Case 4:19-cv-04311-JSW Document 29 Filed 09/23/19 Page 19 of 19


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                                                         SQUARE’S NOTICE OF MOTION                               CASE NO.: 5:19-CV-04311-JSW
                                                         AND MOTION TO DISMISS COMPLAINT
